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16
17                          UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF CALIFORNIA
18
19   Alicia Hernandez, et al, individually and on   Case No. 3:18-cv-07354-WHA
20   behalf of all others similarly situated,
                                                    NOTICE OF APPEARANCE OF JEFFREY
21                  Plaintiffs,                     KOSBIE
22
     v.
23
     Wells Fargo Bank, N.A.,
24
                    Defendant.
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                            NOTICE OF APPEARANCE OF JEFFREY KOSBIE
                                   CASE NO. 3:18-cv-07354-WHA
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 1          TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE THAT Jeffrey Kosbie of Gibbs Law Group LLP hereby appears as
 3   counsel for Plaintiffs and the Proposed Classes in the above-captioned action. He is admitted to
 4   practice in the State of California and before this Court. His address, telephone, facsimile, and email
 5   address are as follows:
 6          Jeffrey Kosbie (SBN 305424)
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 9          Email: jbk@classlawgroup.com
10          Please add Jeffrey Kosbie as an attorney to be noticed on all matters in this action.
11
     Dated: December 9, 2019                                        Respectfully submitted,
12
                                                                    /s/ Jeffrey Kosbie
13                                                                  GIBBS LAW GROUP LLP
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                                      CASE NO. 3:18-cv-07354-WHA
              Case 3:18-cv-07354-WHA Document 185 Filed 12/09/19 Page 3 of 3




 1                                       CERTIFICATE OF SERVICE
 2           I hereby certify that on December 9, 2019, I electronically filed the foregoing NOTICE OF
 3   APPEARANCE OF JEFFREY KOSBIE with the Clerk of the Court for the United States District
 4   Court, Northern District of California by using the Court’s CM/ECF system, which will serve
 5   electronic notification of this filing to all counsel of record.
 6
 7   Date: December 9, 2019                                  By: /s/ Marianne Fogle
                                                                Marianne Fogle
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